(Rev. 10/19) Judgment in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                             for the
                                                        District of Alaska

             DAVID PAUL BIESEMEYER,
                              Plaintiff                         )
                                 v.                             )      Civil Action No. 3:23-cv-00185-SLG-KFR
                                                                )
                THE MUNICIPALITY OF                             )
                ANCHORAGE, ALASKA,                              )
                             Defendant

                                            JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT this action is dismissed without leave to amend and with prejudice.




APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                                                  Candice M. Duncan
Date: September 12, 2024                                                          Candice M. Duncan
                                                                                    Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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